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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re                                                          :   Chapter 7
                                                                :
 BOAZ BAGBAG,                                                   :   Case No. 08-12667 (MEW)
                                                                :
                                     Debtor.                    :
 ---------------------------------------------------------------x

           ORDER CONCERNING MOTION TO ENFORCE DISCHARGE
      INJUNCTION WITH RESPECT TO NEW YORK STATE COURT JUDGMENT

         On June 26, 2018, the Debtor filed a Motion for entry of an order: (1) declaring the order

 (the “State Court Order”) entered against the Debtor in an action captioned Alcobi v. Bagbag,

 Index No. 654572/2016, Supreme Court of the State of New York (the “State Court Action”) void

 ab initio pursuant to 11 U.S.C. § 524(a)(1); (2) declaring the “Payment, Settlement Agreement”

 (the “Settlement Agreement”) between the Debtor and Asher Alcobi (“Alcobi”) void and

 unenforceable pursuant to 11 U.S.C. §§ 524(c) and (d); (3) clarifying the Order of Discharge to

 declare the Alcobi claim discharged as a matter of law pursuant to 11 U.S.C. § 727(b) and

 enforcing the discharge injunction to discontinue the State Court Action with prejudice, as well

 as related relief (the “Motion”). On September 6, 2018, Alcobi filed opposition to the Motion.

 A hearing on the matter was held on October 18, 2018 (the “Hearing”). For the reasons set forth

 at the Hearing and in the Court’s Decision Regarding Motion to Enforce Discharge Injunction

 with Respect to New York State Court Judgment, dated November 15, 2018, it is hereby

         ORDERED, that the Debtor’s Motion is granted to the extent of declaring that the

 state court judgment, dated March 10, 2017, and any modified judgment that incorporates

 an award of attorneys’ fees and expenses entered in the State Court Action, is void and

 unenforceable; and it is further
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        ORDERED, that Alcobi be and hereby is enjoined from taking any action to

 enforce the judgment(s) that are the subject of the prior paragraph; and it is further

        ORDERED, that the Settlement Agreement is not enforceable to the extent that it

 was made in whole or in part in consideration of events and obligations that occurred

 prior to the Debtor’s bankruptcy filing in July 2008; and it is further

        ORDERED, that Alcobi may pursue, in the state court, his contentions that pre-

 bankruptcy events and obligations had nothing to do with the Settlement Agreement, but

 shall not be entitled to relief on that theory except upon a determination by the state court

 that the Settlement Agreement was based solely on events that post-dated the Debtor’s

 bankruptcy filing in July 2008 and in consideration of claims that arose entirely from

 those post-bankruptcy events, and not from earlier events; and it is further

        ORDERED, that the Debtor’s request that the Court undo other actions taken by

 other parties, or obligations incurred by other parties, is denied, without prejudice to

 further proceedings in the state court to determine the effect (if any) of the rulings set

 forth herein on those other parties.

 Dated: New York, New York
        November 15, 2018


                                                s/Michael E. Wiles
                                                UNITED STATES BANKRUPTCY JUDGE




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